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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
  Civil Action No. 1:17-cv-01602-RM-MJW
  JOSE TREJO, et al.; and those similarly situated,
              Plaintiffs,
         v.
  XCLUSIVE STAFFING, INC.; et al.,
                 Defendants.

   DEFENDANTS’ MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS PURSUANT
                           TO FED. R. CIV. P. 12(c)


         This Motion raises the following question: whether an employee alleging a violation of

  Colorado’s rest break rules may call upon a court for judicial relief. As explained below, the Court

  should answer, “No.”

         Colorado’s rest break rules are set forth in Colorado’s Minimum Wage Order, which

  provides that “[a] compensated ten (10) minute rest period for each four (4) hours [of work] . . .

  shall be permitted for all employees.” Plaintiffs’ Complaint alleges that Defendants “rarely”

  provided Plaintiffs with 10-minute rest breaks and, instead, paid Plaintiffs to work through their

  breaks. Therefore, according to Plaintiffs, the Court should award them an additional ten minutes’

  worth of wages for each “lost break.” See Compl. at ¶¶ 229–230. That is, even though Plaintiffs

  have already been paid for time spent working during each “lost break,” Plaintiffs believe they

  should be paid for each “lost break” again.

         The Minimum Wage Order, however, does not provide any monetary remedy for violations

  of its rest break rules, and it does not grant employees any private right of action in court. More

  importantly, neither do any Colorado statutes. Rather, for an employee alleging a violation of



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  Colorado’s rest break rules, the sole and exclusive remedy is to file a complaint with the Colorado

  Division of Labor, which may then investigate and order compliance. Indeed, Plaintiffs’ requested

  relief – additional wages for time they never worked – finds no basis whatsoever in Colorado law.

  It is, in fact, contrary to both the letter and spirit of Colorado’s wage laws.

         Accordingly, Plaintiffs’ sixth cause of action for “failure to provide 10-minute breaks under

  Colorado law” does not state a claim for relief and should be dismissed. Likewise, Plaintiffs’

  fourth and fifth causes of action, to the extent they also seek compensation under Colorado law for

  rest breaks never received, should be dismissed as well.1

                                             ARGUMENT
  I.     Standard for judgment on the pleadings pursuant to FED. R. CIV. P. 12(c).

         The Court evaluates a motion for judgment on the pleadings under Rule 12(c) using the

  same standard that applies to a Rule 12(b)(6) motion to dismiss. Park Univ. Enters., Inc. v. Am.

  Cas. Co., 442 F.3d 1239, 1244 (10th Cir. 2006). The Court views the motion in the light most

  favorable to the nonmoving party and accepts all well-pleaded, non-conclusory facts as true.

  Teigen v. Reffrow, 511 F.3d 1072, 1078 (10th Cir. 2007); So. Disposal, Inc. v. Tex. Waste, 161

  F.3d 1259, 1262 (10th Cir. 1998). However, the facts alleged must be enough to state a valid and

  plausible claim for relief. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007).

  II.    Colorado law does not provide a private right of action for alleged rest break
         violations.

         Under Colorado’s Minimum Wage Act, Colo. Rev. Stat. §§ 8-6-101 to -119, the Director

  of Colorado’s Division of Labor may determine appropriate minimum wages for employees



  1
   Defendants’ counsel have conferred with Plaintiffs’ counsel regarding this Motion. Plaintiffs are
  opposed to the Motion and the relief requested herein.

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  working within the state, as well as appropriate “standards of conditions of labor and hours of

  employment” for those employees. See Colo. Rev. Stat. §§ 8-6-103(3), -106. The Director may

  then, either directly or through an appointed “wage board,” adopt a Minimum Wage Order

  mandating that employers provide the appropriate minimum wages, working conditions, and work

  hours. Weissman v. Crawford Rehab. Servs., 914 P.2d 380, 387 (Colo. App. 1995), rev’d on other

  grounds, 938 P.2d 540 (Colo. 1997); Colo. Rev. Stat. §§ 8-6-10 through -112.

         Colorado’s current Minimum Wage Order provides, as part of its regulations pertaining to

  working conditions and work hours, rules for rest breaks. The rules state that:

         Every employer shall authorize and permit rest periods, which, insofar as
         practicable, shall be in the middle of each four (4) hour work period. A
         compensated ten (10) minute rest period for each four (4) hours or major fractions
         thereof shall be permitted for all employees. Such rest periods shall not be deducted
         from the employee's wages. It is not necessary that the employee leave the premises
         for said rest period.

  See 7 C.C.R. 1103-1 at § 8.2

         As explained below, neither the Colorado Minimum Wage Act, the Minimum Wage Order,

  nor any other applicable provision of Colorado law provides Plaintiffs with a private right of action

  for alleged violations of these rest break rules.

         A.      The legal framework for evaluating whether a private right of action exists.

         There is no controlling Colorado law specifically addressing whether employees may

  enforce Colorado’s rest break rules through a private civil action. This Court, therefore, “must

  attempt to construe the law of the State of Colorado in the manner in which the Supreme Court of

  Colorado would, if faced with the same facts and issue.” Aurora v. Bechtel Corp., 599 F.2d 382,


  2
   This same language has been included in all the Minimum Wage Orders in effect during the time
  period relevant to Plaintiffs’ claims.

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  386 (10th Cir. 1979). See also Rawson v. Sears, Roebuck & Co., 822 F.2d 908, 910 (10th Cir.

  1987) (same).

         As recognized by Colorado’s Supreme Court, “[t]he law does not supply a remedy for

  every wrong.” City of Arvada ex rel. Arvada Police Dep't v. Denver Health & Hosp. Auth., 403

  P.3d 609, 613 (Colo. 2017). Therefore, to determine whether a judicial remedy exists for an

  alleged violation of a state statute or regulation, a court must first determine whether the applicable

  statute expressly creates a private right of action. Gerrity Oil & Gas Corp. v. Magness, 946 P.2d

  913, 923 (Colo. 1997). If there is no express right of action, the court must then decide whether

  an implied private right of action exists, which requires the court to examine: (1) “whether the

  plaintiff is within the class of persons intended to be benefitted by the legislative enactment”; (2)

  “whether the legislature intended to create, albeit implicitly, a private right of action”; and (3)

  “whether an implied civil remedy would be consistent with the purposes of the legislative scheme.”

  City of Arvada, 403 P.3d at 614–15.

         B.       Colorado law does not provide an express private right of action for alleged rest
                  break violations.

         The Colorado Minimum Wage Act does not mention rest breaks, much less expressly

  provide a private cause of action for violations of the rest break rules described in the Minimum

  Wage Order. The only private cause of action expressly authorized by the statute relates to an

  employer’s failure to pay minimum wages. Specifically, the statute provides that “[a]n employee

  receiving less than the legal minimum wage . . . is entitled to recover in a civil action the unpaid

  balance of the full amount of such minimum wage. . . .” See Colo. Rev. Stat. § 8-6-118. No other

  private civil actions are expressly authorized by the Colorado Minimum Wage Act.




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         Likewise, the Minimum Wage Order does not expressly permit a private cause of action

  for an employer’s failure to provide 10-minute rest breaks. See 7 C.C.R. 1103-1. As with the

  Minimum Wage Act, the only private civil action expressly referenced in the Minimum Wage

  Order is an action to recover unpaid minimum wages. See 7 C.C.R. 1103-1 at § 18. Even if the

  Colorado Division of Labor attempted to include a private right of action for rest beak violations

  in the Minimum Wage Order, it would not be effective and could not be enforced by this Court;

  only the Colorado legislature may authorize private civil actions for violations of state statutes and

  regulations. See USA Tax Law Ctr., Inc. v. Office Warehouse Wholesale, L.L.C., 160 P.3d 428,

  431 (Colo. App. 2007) (“Language in a regulation may invoke a private right of action that

  Congress through the statutory text created, but it may not create a right that Congress has not.”)

  (quoting Alexander v. Sandoval, 532 U.S. 275, 291 (2001)). See also McDonald v. J.P. Morgan

  Chase Bank, N.A., 2015 U.S. Dist. LEXIS 36949, *8 (D. Colo. Mar. 23, 2015) (no private civil

  action under federal regulation because “only a statute can create a private right of action”).3




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    Although the court in USA Tax Law Ctr. applied United States Supreme Court precedent to
  determine that no private right of action existed under a federal statue, Colorado courts draw
  “useful guidance” from the United States Supreme Court when evaluating the existence of private
  rights of action under Colorado law. See Rawson, 822 F.2d at 920–21. The Colorado Supreme
  Court would, therefore, likely hold that state administrative regulations – like the Minimum Wage
  Order – cannot create a private right of action, and only statutes enacted by the Colorado legislature
  may do so. Indeed, the Colorado Supreme Court has already alluded to such a holding. See, e.g.,
  Gerrity Oil & Gas, 946 P.2d at 923 (explaining that when a “claimant alleges that a statute,
  ordinance, or regulation implicitly creates a private right of action, the critical question is whether
  the legislature intended such a result.”) (emphasis added). See also City of Arvada, 403 P.3d at
  614 (when addressing whether a private right of action exists, “our fundamental task must be to
  discern and effectuate the legislature’s intent”) (emphasis added).

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         C.      Colorado law does not provide an implied private right of action for alleged rest
                 break violations.

         As stated above, to determine whether an implied private right of action exists for alleged

  rest break violations, the Court must examine: (1) “whether the plaintiff is within the class of

  persons intended to be benefitted by the legislative enactment”; (2) “whether the legislature

  intended to create, albeit implicitly, a private right of action”; and (3) “whether an implied civil

  remedy would be consistent with the purposes of the legislative scheme.” City of Arvada, 403

  P.3d at 614–15. However, the second factor is the most important and is, in fact, determinative.

  See Gerrity Oil & Gas, 946 P.2d at 923 (explaining that “the critical question is whether the

  legislature intended [to create a private right of action].”). See also Touche Ross & Co. v.

  Redington, 442 U.S. 560, 575 (1979) (stating that, while all the factors described above are

  relevant, not all the factors are entitled to equal weight, and the determinative question is “whether

  [the legislature] intended to create the private right of action asserted”).

         In this case, although Plaintiffs may satisfy the first factor because they are “within the

  class of persons intended to be benefitted” by Colorado’s rest break rules, they cannot satisfy the

  second factor because the Colorado legislature never “intended to create, albeit implicitly, a private

  right of action” for rest break violations. See City of Arvada, 403 P.3d at 614–15. Indeed,

  an implied civil remedy would be inconsistent with Colorado’s wage and hour laws, meaning

  Plaintiffs also cannot satisfy the third factor in the Court’s analysis. See id.

                 1. The Colorado legislature did not intend to create a private right of action for
                    alleged rest break violations.

         The Colorado Supreme Court has explained that a court examining Colorado law should

  “not infer a private right of action based on a statutory violation unless [it] discern[s] a clear



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  legislative intent to create such a cause of action.” Gerrity Oil & Gas, 946 P.2d at 923 (emphasis

  added). See also Quintano v. Indus. Comm’n, 495 P.2d 1137, 1139 (Colo. 1972) (“If the General

  Assembly has the intent that [private parties] use [a] statute as the basis for civil liability, then its

  expression of this intent should be loud and clear, i.e., by authorizing the remedy. This is not a

  subject in which we should attempt to infer such a legislative intent.”). Therefore, Colorado courts

  rarely find that an implied private right of action exists. City of Arvada, 403 P.3d at 613 (“When

  a statute does not specify what constitutes an actionable injury, we look to the law of implied

  private rights of action to determine whether the statute might still create a claim conferring

  standing. We don’t often find such a claim.”)

          The Minimum Wage Act does not contain any clear expression of legislative intent to

  create a private right of action for rest break violations. As explained above, the Act permits the

  Director of the Colorado Division of Labor to issue a Minimum Wage Order containing rules

  regarding not only minimum wages, but also rules regarding work conditions and work hours –

  including rules relating to rest breaks. See Argument, Section II, supra. However, the Act only

  permits a private civil action for minimum wage violations, and no others. Id. at Section II.B,

  supra; Colo. Rev. Stat. § 8-6-119. These provisions demonstrate that the legislature considered

  whether to allow private civil actions for regulations promulgated by the Division of Labor and set

  forth in the Minimum Wage Order, and chose to allow private civil actions only for an employer’s

  failure to pay minimum wages. See Gerrity Oil & Gas, 946 P.2d at 925 (holding that statute

  providing injunctive relief for only certain violations demonstrated that the legislature considered

  whether to allow private rights of action, and chose to limit them as described in the statute); Holter

  v. Moore & Co., 681 P.2d 962, 965 (Colo. 1988) (“In the absence of strong indicia of legislative


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  intent to the contrary, courts are compelled to conclude that the legislature provided precisely the

  remedies it considered appropriate.”).

         Furthermore, the Colorado legislature has established administrative procedures and

  administrative remedies for an employer’s violations of rules promulgated by the Division of

  Labor – including rules relating to rest breaks. In particular, the Division’s Director may

  investigate issues relating to the payment of minimum wages, working conditions, and work hours

  (see Colo. Rev. Stat. § 8-6-107); hold investigative hearings and subpoena witnesses and

  documents (see Colo. Rev. Stat. § 8-1-125(1) and § 8-6-108); and then enter an award or an order

  resolving any disputes between the employee and his employer (see Colo. Rev. Stat. § 8-1-125(4)

  and § 8-1-130). Any order or award issued by the Director is then subject judicial review, as set

  forth in the Colorado Administrative Procedure Act. Colo. Rev. Stat. § 8-1-130 and § 24-4-106(3).

  The Director’s order or award may also be enforced, if necessary, through a court order. Colo.

  Rev. Stat. § 24-4-106(3). Furthermore, if the Director lawfully enjoins an employer from engaging

  in particular conduct (such as, for example, denying rest breaks) and the employer fails to comply,

  then the employer and its officers, agents, and representatives are subject to fines and criminal

  penalties. Colo. Rev. Stat. § 8-1-140.

         This administrative enforcement scheme reflects an intention to preclude private civil

  remedies for alleged rest break violations. Allstate Ins. Co. v. Parfrey, 830 P.2d 905, 910 (Colo.

  1992) (“[T]he legislative decision to enact a particular administrative remedy to redress a statutory

  violation is consistent with a legislative intent to preclude a private civil remedy for breach of the

  statutory duty.”). See also City of Arvada, 403 P.3d at 614 (“Generally, if the legislature includes

  a remedy in the statute at issue, we will conclude it did not intend for the courts to create others.”).


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  For example, in Holter v. Moore & Co., the Colorado Court of Appeals addressed whether an

  implied private right of action existed under one of Colorado’s real estate statutes, or its related

  regulations. Id. at 963. The court observed that the state’s real estate commission was responsible

  for enforcing compliance with statute and regulations, and for disciplining non-compliance. Id. at

  965. The court held that “[w]here a statute creates legal duties and provides a particular means of

  enforcement, the designated remedy is exclusive and courts are without authority to impose

  others,” and then declined to find a private right of action “in light of the [administrative]

  enforcement procedures provided in the [real estate] statutory scheme. Id. See also Board of

  County Commissioners v. Moreland, 764 P.2d 812, 818–19 (Colo. 1988) (where remedies other

  than private damages are provided for in a statute, “this reflects that the state legislature . . . gave

  thought to the issue of civil liability but made no provision for imposition of such liability”).4



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    Many Colorado court decisions express the same principles. See Bd. of Comm’rs v. Pfeifer, 546
  P.2d 946, 949 (Colo. 1976) (“[I]n this case the legislature has clearly and expressly established the
  remedies available to the Board in order to enforce its subdivision requirement, and they are so
  limited.”); Gladden v. Guyer, 426 P.2d 953, 957 (Colo. 1967) (“The penalty provided by the
  legislature for [violation of the statute] is a fine . . . or imprisonment . . ., or both. To declare void
  a contract entered into without [a] certificate [as the statute required] would be enlarging upon the
  penalties provided by the legislature.”); Am. Tele. & Commc’ns Corp. v. Manning, 651 P.2d 440,
  447 (Colo. App. 1982) (“[W]here a statute creates legal duties which were non-existent at common
  law and provides a particular means for their enforcement, the designated remedy is exclusive, and
  courts should not imply new remedies to accompany the new right in the absence of some
  legislative indication or other circumstances that such a result was intended.”); Bd. of Cnty.
  Comm'rs v. HAD Enterprises, Inc., 533 P.2d 45, 46 (Colo. App. 1974) (“[The statute] provides
  that one who violates the terms thereof shall be guilty of a misdemeanor and may be subject to a
  fine and imprisonment. These provisions are the sole remedies under the act. . . . Where the
  legislature has not seen fit to authorize a particular remedy in a statute, we cannot supply one.”);
  Farmers Group, Inc. v. Trimble, 658 P.2d 1370, 1378 (Colo. App. 1982) (“The General Assembly
  could have added the remedy of a private civil action for damages to its catalog of sanctions. It did
  not do so, however, and in the absence of any indication of contrary legislative intent, we must
  assume that the specific remedies designated by the General Assembly exclude all others.”), aff'd,
  691 P.2d 1138 (Colo. 1984).

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           Accordingly, the Court should hold that Colorado law does not allow Plaintiffs to pursue

   a private civil action for alleged violations of the state’s rest break rules.

                   2. The Colorado Division of Labor did not intend to create a private right of action
                      for alleged rest break violations.

           As explained above, a state administrative agency like the Colorado Division of Labor

   cannot enact a regulation creating a private right of action. See Argument, Section II.B, supra.

   However, even assuming the Colorado Minimum Wage Order could impliedly create a private

   right of action for alleged rest break violations, it does not do so.

           The Minimum Wage Order describes three types of remedies: administrative remedies

   enforced by the Division for any violation of the Wage Order, a private right of action for

   employees receiving less than the required minimum wage, and criminal penalties for employers

   who pay less than the minimum wage. See 7 C.C.R. 1103-1 at §§ 15–20. Regarding administrative

   remedies, Section 15 of the Wage Order states that any person may register with the Division a

   written complaint alleging a violation of the Wage Order, and as described in Section 16, the

   Division may then “investigate and take all proceedings necessary to enforce the payment of the

   minimum wage rate and other alleged violations of this Wage Order . . . .” Id. at §§ 15, 16

   (emphasis added). While failure to pay minimum wages and other violations of the Minimum

   Wage Order are subject to this administrative enforcement scheme, minimum wage violations are

   subject to additional remedies.

           Specifically, as described in Section 20, employers who fail to pay required minimum

   wages are subject to fines and criminal prosecution. See 7 C.C.R. 1103-1 at § 20. Section 18

   restates the Colorado Minimum Wage Act’s express private right of action for “an employee

   receiving less than the legal minimum wage.” Id. The Wage Order does not mention any

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   additional violations that are entitled to a private right of action, and makes no mention of a private

   right of action for violating the Wage Order’s rest break requirements. Id. If the Division intended

   to include other violations of the Wage Order in its civil remedy provision, it could have used the

   same language that it used when describing administrative remedies in Section 16 (i.e., violations

   of the “minimum wage rate and other alleged violations of this Wage Order”). The Court must

   conclude that the Division made a conscious and deliberate decision choice not to do so. See

   Gerrity Oil & Gas, 946 P.2d at 925; Holter v. Moore & Co., 681 P.2d at 965.

                  3.      A private right of action is inconsistent with Colorado’s statutory scheme.

          As    already    mentioned,     statutory    intent   to   create   a   private   remedy     “is

   determinative.” Alexander, 532 U.S. at 286. “Without it, a cause of action does not exist and

   courts may not create one, no matter how desirable that might be as a policy matter, or how

   compatible with the statute.” McKenzie v. United States Citizenship & Immigration Servs., Dist.

   Dir., 761 F.3d 1149, 1157 (10th Cir. 2014). However, to the extent the Court wishes to consider

   the third factor relating to private rights of action, the Court should conclude that a private civil

   action allowing Plaintiffs to receive an extra ten minutes’ worth of wages for each “lost break” is

   inconsistent with Colorado’s wage and hour laws.

          First, although the purpose of Colorado’s rest break rules is, obviously, to encourage

   employers to provide employees with rest breaks, refusing to recognize a private right of action

   will not frustrate this purpose. The administrative remedies provided by the Colorado Minimum

   Wage Order and its related statutes ensure that employers provide required rest breaks. A private

   right of action in unnecessary. See Gerrity Oil & Gas, 946 P.2d at 925–26 (holding that property

   owner did not have private right of action against oil and gas company in part because the


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   “legislature has enacted a panoply of remedies to ensure that oil and gas production in Colorado

   does not occur at the expense of the environment or surface owners,” and thus, “refusal to infer a

   private cause of action . . . does not frustrate these purposes”).

          Secondly, providing the specific remedy requested by the Plaintiffs – an additional ten

   minutes’ worth of wages for “lost breaks” – is inconsistent with Colorado’s wage and hour laws.

   In particular, although Colorado law allows an employee to recover unpaid wages or

   compensation, only amounts “earned” through “labor or service” are considered wages or

   compensation. See Colo. Rev. Stat. § 8-4-101(14). Here, although Plaintiffs have already been

   paid for working through any “lost breaks,” Plaintiffs believe they should be paid for each “lost

   break” again. In other words, because Plaintiffs are seeking another ten minutes of wages for

   breaks allegedly never taken, Plaintiffs seek an additional ten minutes of wages for time they never

   worked. Providing Plaintiffs with a private cause of action to pursue this remedy is, therefore,

   inconsistent with the Colorado legislature’s intent.

          In fact, in a separate case, an official from the Division of Labor has stated “there is no

   monetary recovery” for missed rest breaks because “Colorado wage law requires that employees

   be paid for all hours worked, not for hours not worked.” See Exhibit G to Defendants’ Motion

   for Partial Summary Judgment in Lozoya v. All Phase Landscape Construction, Inc., 12-CV-

   01048-JLK-KLM, attached hereto as Exhibit 1. As explained by the Division of Labor’s official,

   if an employer is not providing employees with rest breaks, the Division “will inform employees

   . . . of the law and require that they provide proof of a change in policy that brings them into




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   compliance with the law.” Id. But employees have no right to bring their own civil action for

   monetary damages.5 Id.

   III.   The Plaintiffs’ anticipated arguments should be rejected.

          Plaintiffs will likely respond to this Motion by citing two decisions issued by other judges

   in this District Court. In Lozoya v. AllPhase Landscape Constr., Inc., 2015 U.S. Dist. LEXIS

   49493, *5–6 (D. Colo. Apr. 15, 2015), Judge Kane addressed similar rest break claims, stating that

   there are “no state or federal Colorado decisions [directly] on point.” Id.     Judge Kane held,

   however, that missed rest breaks can constitute unpaid wages recoverable under the Colorado

   Wage Claim Act, citing only to a Washington state court decision that allows missed rest breaks

   to be recovered as wages under Washington law. Id. (citing Wingert v. Yellow Freight Systems,

   Inc., 50 P.3d 256, 260 (Wash. 2002)). Judge Kane provided no other analysis. Id.

          In Sanchez v. Front Range Transportation, 2017 U.S. Dist. LEXIS 150069 (D. Colo. Sept.

   15, 2017), the defendants “suggested” there was no private right of action for violations of

   Colorado’s rest break rules, but “provide[d] no authority for this proposition.” Id. at *11. Judge




   5
     Allowing Plaintiffs to bring a private civil action for alleged rest break violations would also
   raise a host of issues that have never been addressed by any court applying Colorado law,
   including: (1) whether employers may be held liable if employees take ten-minute rest breaks, but
   the breaks are “unauthorized”; (2) whether the 10-minute rest breaks must be uninterrupted and
   completely “duty free,” and if so, whether a work-related interruption requires the break to “start
   over”; (3) whether the breaks must consist of ten continuous minutes, or may be divided into
   smaller 5-minute increments; (4) whether substantial compliance (e.g., providing an eight-minute
   or nine-minute rest break) avoids liability; (5) whether there are any exceptions to the Wage
   Order’s rest break requirements such as, for example, employees who work alone; and (6) what is
   meant by the Wage Order’s requirement that rest breaks be provided every four hours “or major
   fractions thereof” – i.e., whether two rest breaks are required if an employee works more than six
   hours, and if so, whether a 30-minute meal break may be substituted for one of the rest breaks.
   The Colorado legislature has not empowered courts to resolve these questions.

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   Jackson, however, stated that he agreed with the holding in Lozoya and, therefore, held that

   plaintiffs had a private right of action for violations of the Minimum Wage Order. Id. at *11–12.

          Neither of these decisions are controlling on this Court, and they should not be followed

   here, for a variety of reasons set forth below. Indeed, if the Court wishes to follow Judge Kane’s

   approach and review similar decisions arising in other states, many courts around the country have

   declined to find a private right of action for an employer’s failure to provide either rest breaks or

   meal breaks. Colorado’s rest break rules are, in fact, more similar to Oregon’s rest break provisions

   than the Washington state law provisions referenced by Judge Kane – and Oregon courts have held

   that no private right of action exists for an employer’s failure to provide rest breaks.

          A.      Lozoya and Sanchez are not controlling, or persuasive.

          “A decision of a federal district court judge is not binding precedent in either a different

   judicial district, the same judicial district, or even upon the same judge in a different case.” Doe

   v. Univ. of Colo., 255 F. Supp. 3d 1064, 1085 (D. Colo. 2017). The decisions issued in Lozoya

   and Sanchez, therefore, are not binding on this Court.

          Furthermore, this Court should conclude that Lozoya and Sanchez are not persuasive and

   should not be followed. Neither Judge Kane nor Judge Jackson analyzed relevant factors for

   determining whether an implied right of action exists, much less any of the legal authority or

   arguments now included in this Motion. In fact, the defendants’ motion in Lozoya did not provide

   Judge Kane with any supporting case law, and it failed to present most of the arguments now set

   forth in this Motion. See Defendants’ Motion for Partial Summary Judgment in Lozoya v. All

   Phase Landscape Construction, Inc., 12-CV-01048-JLK-KLM, attached hereto as Exhibit 1, at pp.

   10–12. Similarly, as noted by Judge Jackson, the defendants in Sanchez provided the court with


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   no legal authority whatsoever in support of their position. See Sanchez, 2017 U.S. Dist. LEXIS

   150069 at *11. If Judge Kane and Judge Jackson had considered the arguments and legal authority

   included in this Motion, their decisions likely would have be different.

          In addition, the holding in Sanchez relied almost entirely on Judge Kane’s holding in

   Lozoya, which – in turn – relied exclusively on Wingert, a Washington state case. See Lozoya,

   2015 U.S. Dist. LEXIS 49493 at *5–6 (citing Wingert, 50 P.3d at 260.) However, the decision in

   Wingert is not helpful to the Court in deciding the issues presented here.

          The court in Wingert did not address or apply any of the case law or legal authority existing

   in Colorado, and described above. In fact, Wingert assumed the state’s administrative labor agency

   could create an implied right of action for violations of the state’s rest break regulations, which is

   contrary to the law in Colorado. Compare Wingert, 50 P.3d at 961 (assuming that Washington

   Department of Labor and Industries would not create a right to rest breaks without also creating a

   means for employees to enforce that right) with USA Tax Law Ctr., 160 P.3d at 431 and fn.3,

   supra. Moreover, the court in Wingert presumed that if employees have a right to rest breaks,

   there must be an implied private right of action for employees to enforce their rights. 50 P.3d at

   961. In Colorado, however, [t]he law does not supply a remedy for every wrong,” see City of

   Arvada, 403 P.3d at 613, and a court will not find that an implied private of action exists unless it

   “discern[s] a clear legislative intent to create such a cause of action.” Gerrity Oil & Gas, 946 P.2d

   at 923 (emphasis added). See also Safe Sts. All. v. Hickenlooper, 859 F.3d 865, 902 (10th Cir.

   2017) (courts “cannot, by avowing that there is a right but no remedy known to the law, create a

   remedy in violation of law . . . .”) (quoting INS v. Pangilinan, 486 U.S. 875, 883(1988)). Further,

   while the court in Wingert believed that a private civil remedy was needed to enforce Washington


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   employees’ rights to rest breaks, the same is not true here – the Colorado legislature has established

   administrative procedures and administrative remedies for an employer’s violations of rules

   promulgated by the Division of Labor – including rules relating to rest breaks. See Argument,

   Section II.C.1, supra.

           Washington’s rest break regulation is also different from Colorado’s. The Washington,

   regulation provides that “[e]mployees shall be allowed a rest period of not less than 10 minutes,

   on the employer’s time, for each 4 hours of working time.” Wash. Admin. Code § 296-126-092.

   When finding that missed rest breaks are compensable as unpaid “wages,” Washington state court

   decisions rely heavily on the language in the state regulation requiring that rest breaks be provided

   “on the employer’s time.” See Lopez Demetrio v. Sakuma Bros. Farms, Inc., 355 P.3d 258, 263

   (Wash. 2015); Wash. Admin. Code § 296-126-092. There is no such language in the Colorado

   Minimum Wage Act, the Minimum Wage Order, or any other applicable statute or regulation.

          For these reasons, the Court should give no weight to Lozoya, Sanchez, or decisions arising

   under Washington law. As explained below, if the Court wishes to examine the law in other states,

   Colorado’s rest break rules are more similar to Oregon’s rest break regulations than the

   Washington state provisions referenced in Lozoya – and the Oregon Supreme Court has held that

   no private right of action exists for violating the state’s rest break regulations. See Gafur v. Legacy

   Good Samaritan Hosp. & Med. Ctr., 185 P.3d 446, 453 (Or. 2008). Many other states, in fact,

   hold there is no private civil action for an employer’s failure to provide rest breaks or meal breaks.

          B.      Other states have declined to recognize a private right of action for rest break
                  violations.

          Much like the rest break rules in Colorado’s Minimum Wage Order, Oregon’s rest break

   regulation requires “[a] period of rest of not less than ten minutes for every segment of four hours

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   or major fraction thereof worked in one work period without deductions from the employee’s pay.”

   See Gafur, 185 P.3d at 450–51 (quoting O.A.R. § 839-020-0050(1)(b)); 7 C.C.R. 1103-1 at § 8

   (“A compensated ten (10) minute rest period for each four (4) hours or major fractions thereof

   shall be permitted for all employees. Such rest periods shall not be deducted from the employee's

   wages.”). In Gafur, the Oregon Court of Appeals held that, because the regulation entitles

   employees to rest breaks “without deduction from the employee's pay,” the provision entitles

   employees to four hours of pay for three hours and 50 minutes of work, and thus an extra 10

   minutes of compensation for each fours worked without a rest break. See 185 P.3d at 451.

          The Oregon Supreme Court overruled the Court of Appeals. Id. It held that nothing in the

   rest break rules required additional wages for missed rest breaks, and the requirement that rest

   breaks not be deducted from an employee’s pay actually supported a conclusion that employees

   were not entitled to recover additional wages for missed breaks. Id.

          The Oregon Supreme Court began by noting that when rest breaks are taken by employees,

   those employees are performing “work” within the meaning of wage and hour laws.         See 185

   P.3d at 451. The court explained that “[t]he fact that an employer may not deduct wages from the

   employee’s pay for the rest break . . . supports the idea that employees are working during rest

   periods, even if they are not performing duties at that time.” Id. Furthermore, related Oregon

   regulations provided that (1) “employees who are required to ‘wait’ as part of their jobs are

   considered to be working, so long as ‘the time spent waiting belongs to and is controlled by the

   employer and the employee is unable to use the time effectively for the employee's own

   purposes’”; (2) “an employee who is required to remain on-call on the employer’s premises or so

   close thereto that the employee cannot use the time effectively for the employee’s own purposes


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   is ‘working’ while on-call”; and (3) “employees who are required to be on duty for less than 24

   hours are considered to be working even though they are permitted to sleep or engage in other

   activities when not busy.” Id. at 451–52. “By the same token, the fact that a 10-minute rest break

   is too short to enable an employee to use the time effectively for his or her own purposes suggests

   that the employee is ‘working’ for purposes of the wage and hour laws.” Id. at 452.

          The Oregon Supreme Court then explained that:

          An employee who works four hours and takes a 10 minute rest break within that
          four-hour period ‘works’ the same amount of time (for wage and hour purposes) as
          an employee who works four hours and does not take a rest break. In each
          circumstance, the employee is entitled to four hours pay and no more. Therefore,
          in this case, employees who were not provided rest breaks during a four-hour shift
          but were paid for four hours of work for that shift have not been paid “less than the
          wages to which the employee is entitled” under [Oregon’s statutes and regulations].

   Gafur, 185 P.3d at 452. The court went on to observe that violations of the state’s rest break rules

   are subject to administrative fines and criminal prosecution. Id. at 453. The court then concluded

   by holding that no private right of action for rest break violations exists under Oregon law. Id.

          This Court should reach the same result.6 Like Oregon’s regulations, the Colorado

   Minimum Wage Order provides that rest breaks should not be deducted from an employee’s



   6
     In fact, many other states have held that laws requiring employers to provide meal and rest breaks
   do not create private causes of action - including, for example, Arkansas, Illinois, Massachusetts,
   Nevada, and New York. Helmert v. Butterball, LLC, 2009 U.S. Dist. LEXIS 116460, * (E.D. Ark.
   Dec. 15, 2009) (no private action for meal period violations); Wineland v. Casey’s Gen. Stores,
   Inc., 554 F. Supp.2d 915, 921 (S.D. Iowa 2008) (applying Illinois law and holding that it does not
   provide a private action for meal break violations); Salvas v. Wal-Mart Stores, Inc., 893 N.E.2d
   1187, 1215–16 (Mass. 2008) (no private right of action for meal period violations, in part because
   statute permitted attorney general to enforce meal period requirements); Cueto-Reyes v All My
   Sons Moving Co., 2010 U.S. Dist. LEXIS 119787, *6–7 (D. Nev. Nov. 10, 2010) (no private action
   permitted for meal or rest break violations); Romero v. DHL Express, Inc., 2015 U.S. Dist. LEXIS
   36974, *17–18 (S.D.N.Y. March 24, 2015) (no private civil remedy for violations of New York’s
   rest break regulations because state agency is responsible for enforcement of the regulations).

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   wages, indicating that rest breaks are “work.” Furthermore, the Colorado Minimum Wage Order,

   like the regulations at issue in Oregon, define “waiting time” as work (see 7 C.C.R. 1103-1 at § 2,

   defining “Time Worked”); provide that time spent on the employer’s premises and subject to the

   employer’s control is “work” (see id.; 7 C.C.R. 1103-1 at § 8, stating that employees on rest breaks

   may be required to remain on employer’s premises); and state that employees required to be on

   duty for 24 hours or more are engaged in compensable “work” even while sleeping (see 7 C.C.R.

   1103-1 at § 2, defining “Sleep Time”).      This Court should, therefore, also conclude that “[a]n

   employee who works four hours and takes a 10 minute rest break within that four-hour period

   ‘works’ the same amount of time (for wages and hour purposes) as an employee,” like any of the

   Plaintiffs in this case, “who works four hours and does not take a rest break.” Gafur, 185 P.3d at

   452. Plaintiffs are not entitled to recover additional wages for alleged “lost breaks,” and because

   they have no private right of action and no legal basis for their rest break claims, the Court should

   enter a judgement on the pleadings and dismiss those claims.

                                            CONCLUSION

          Plaintiffs cannot identify any statutory or regulatory text creating a private right of action

   for their rest break claims, or any statutory or regulatory text authorizing the monetary remedies

   they seek from this Court. Defendants request that the Court grant this Motion in its entirety,

   dismiss Plaintiffs’ sixth cause of action for “failure to provide 10-minute breaks under Colorado

   law, “ dismiss Plaintiffs’ fourth and fifth causes of action to the extent they seek compensation for

   rest breaks never received, and award Defendants such other relief as it deems just and appropriate.




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        Respectfully submitted this 29th day of May, 2018.


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                              CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on this 29th day of May, 2018, I electronically filed the foregoing
   DEFENDANTS’ MOTION PARTIAL JUDGMENT ON THE PLEADINGS with the Clerk
   of the Court using the CM/ECF system, which will send notification of such filing to the following
   e-mail addresses:

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